 Case: 1:18-cv-00864 Document #: 943-1 Filed: 05/05/20 Page 1 of 3 PageID #:42824




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

In re Dealer Management Systems Antitrust
Litigation, MDL 2817
                                                      No. 1:18-CV-864

This document relates to:                             Hon. Robert M. Dow, Jr.
ALL ACTIONS EXCEPT i3 Brands, Inc., et
                                                      Magistrate Judge Jeffrey T. Gilbert
al. v. CDK Global, LLC, et al., No. 19-cv-1412

           FIFTH STIPULATED AMENDED CASE MANAGEMENT ORDER

       Reserving all rights, the parties have stipulated to the following proposed amended sched-

ule for the parties’ forthcoming Daubert and dispositive motions and other pending motions.

       IT IS HEREBY ORDERED that the Fourth Stipulated Amended Case Management Order

(Dkt. 856) applicable to all actions consolidated in this MDL except i3 Brands, Inc., et al. v. CDK

Global, LLC, et al., Case No. 19-CV-1412, is amended with regard to the following deadlines:

                              EVENT                                 DATE

 DAUBERT MOTIONS (ALL PARTIES)
    1. Deadline for Responses in Opposition to any Daubert          May 29, 2020
       Motions
    2. Deadline for Replies in Support of any Daubert Motions July 8, 2010
 DISPOSITIVE MOTIONS (ALL PARTIES)
    3. Deadline for Dispositive Motions                             May 20, 2020
    4. Deadline for Responses in Opposition to any Disposi-         July 28, 2020
       tive Motions
    5. Deadline for Replies in Support of any Dispositive Mo-       August 28, 2020
       tions
REYNOLDS’S MOTION TO AMEND & MOTION TO COMPEL
    6. Motion to Amend & Motion to Compel Oppositions               May 15, 2020
    7. Motion to Amend & Motion to Compel Replies                   June 12, 2020
Case: 1:18-cv-00864 Document #: 943-1 Filed: 05/05/20 Page 2 of 3 PageID #:42825




STIPULATED AND AGREED:



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d/b/a AutoLoop on behalf of itself and all oth-
ers similarly situated; and Motor Vehicle
Software Corp.


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Case: 1:18-cv-00864 Document #: 943-1 Filed: 05/05/20 Page 3 of 3 PageID #:42826




                                           SO ORDERED:


DATED: _________, 2020
                                           ____________________________________
                                           Hon. Robert M. Dow, Jr
                                           UNITED STATES DISTRICT COURT JUDGE




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